
717 S.E.2d 741 (2011)
STATE of North Carolina
v.
David Morris SOUTHER.
No. 291P11.
Supreme Court of North Carolina.
October 6, 2011.
Peter Wood, for Souther, David Morris.
LaShawn Piquant, Assistant Attorney General, for State of North Carolina.
Tom Horner, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 13th of July 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th of October 2011."
